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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

DENNIS TOOLEY,                              )
                                            )
        Plaintiff,                          )
                                            )
v.                                          )      Case No. 1:16-CV-03526-JMS-DML
                                            )
NAPIER LEGACY LLC,                          )
                                            )
        Defendant.                          )


                 DEFENDANT’S CORPORATE DISCLOSURE STATEMENT

        Defendant Napier Legacy LLC respectfully submits its Rule 7.1 Corporate Disclosure

Statement and states:



                          PLAINTIFF’S INITIAL DISCLOSURES

        Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, Defendant Napier

Legacy LLC (“Defendant”) hereby makes its initial disclosures to Plaintiff Dennis Tooley

(“Plaintiff”).   These initial disclosures are based on information and documents presently

available to Defendant and located by Defendant and its attorneys. Defendant has not completed

its’ investigation of the facts related to this proceeding, its discovery in this action, or its

preparation for trial. By making these disclosures, Defendant does not represent that it is

identifying every document, tangible thing, or witness possibly relevant to the claims in this

proceeding. Nor does Defendant waive its right to object to production or evidentiary use of any

document or tangible thing on the basis of any privilege, the work product doctrine, relevancy,

undue burden, or other valid objection.
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       Defendant’s disclosures represent a good faith effort to identify information it reasonably

believes to be required by Federal Rules of Civil Procedure 26(a)(1).           Accordingly, the

disclosures made herein are without prejudice to Defendant’s right to supplement its disclosures

as provided by the Federal Rules of Civil Procedure.

       A.      Individuals or witnesses (with address and telephone number, if known)

       likely to have discoverable information:

       Defendant has not yet identified all the persons whom it may call as witnesses in this

action. Upon information and belief, other persons having discoverable information that

Defendant may use to support its claims may be uncovered during discovery. However, pursuant

to Federal Rule of Civil Procedure 26(a)(1)(A)(i), Defendant identifies the following persons

who may have discoverable information that Defendant may use to support its claims and

defenses:

       1.      Joe Napier for Defendant, to be contacted through counsel for Defendant. Mr.

Napier owns and manages the facility at issue in this matter, and has personal knowledge of the

structure, fixtures and parking lot.

       2.      Any employee or agent on behalf of Defendant (not yet identified), to be

contacted through counsel for Defendant.

       3.      Any of Plaintiff’s witnesses.

       B.      Exhibits, documents and tangible things (description by category and

       location) has and may use to support its claims or defenses:

       Pursuant to Federal Rule of Civil Procedure 26(a)(1)(A)(ii), Defendant identifies the

following description, by category, of documents and tangible things in its possession, custody,

or control that it may use to support its claims or defenses, excluding any documents that may be




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used solely for impeachment and documents subject to claims of privilege or immunity under

Federal Rule of Civil Procedure 26(b)(5):

          1.         Purchase agreement, site plans, and documents showing improvements to the

property.

          2.         All pleadings and responses to discovery.

          3.         All depositions and discovery to be completed in this case.

          4.         Any of Plaintiff’s exhibits.

          5.         Exhibits reflecting or supporting expert witness testimony (such as reports or

illustrations).

          By providing the foregoing description of documents, Defendant does not waive its right

to refrain from the production of any document in its possession, custody or control based on

grounds of attorney-client privilege or work product immunity, or both.

          C.      Category of damages:

          Defendant’s damages include: incurring attorney fees and costs on the defense of this

matter.

          D.      Any insurance agreement under which an insurance company may be liable

          to satisfy all or part of a judgment in this action:

          Defendant has business insurance through State Farm Fire and Casualty Company, Policy

Number 94-CE-U559-3.

          E.      Expert Witnesses

          Pursuant to Federal Rule of Civil Procedure 26(a)(2), Defendant identifies the following

information with regard to expert witnesses:




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       1.      Gregory S. Fehribach will likely be Defendant’s ADA Expert and may be

               contacted through Defendant’s attorney.         Mr. Fehribach’s background and

               information can be seen at www.thefehribachgroup.com.


                                              Respectfully submitted,


                                              /s/ Jeanne M. Hamilton
                                              Jeanne M. Hamilton (#16053-49)
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                                              Indianapolis, IN 46204
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 28, 2017, a copy of the foregoing was filed electronically.
Notice of this filing will be sent to the following parties by operation of the Court’s electronic
filing system. Parties may access this filing through the Court’s system:

Eric Bohnet
ebohnet@gmail.com

Louis Mussman
Louis@kumussman.com

                                              /s/ Jeanne M. Hamilton
                                                Jeanne M. Hamilton




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